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                       THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                     §
                                            §             Case No. 22-33553
 ALEXANDER E. JONES                         §             (Chapter 7)
                                            §
          Debtor.                           §

          STIPULATION AND AGREED ORDER EXTENDING THE
 DEADLINE FOR TRUSTEE TO OBJECT TO DEBTOR’S CLAIMED EXEMPTIONS

        WHEREAS, on December 2, 2022 (“Petition Date”), Alexander E. Jones (“Debtor”)
filed his voluntary petition for relief under chapter 11 of the Bankruptcy Code.

        WHEREAS, on June 14, 2024 (“Conversion Date”), the Court entered an Order [DE 708]
converting the bankruptcy from a chapter 11 proceeding to a chapter 7 proceeding and Christopher
R. Murray was duly appointed as the chapter 7 trustee (“Trustee”) over the Debtor’s bankruptcy
estate (“Estate”).

       WHEREAS, on June 28, 2024, the Debtor filed his Schedules A/B, C, D, E/F, G, H, I, J,
and Summary of Assets and Liabilities [DE 749] (“Conversion Schedules”) along with his
Statement of Financial Affairs [DE 750].

          WHEREAS, on July 2, 2024, the 341 meeting of creditors was held and concluded.

       WHEREAS, the deadline for parties to object to the exemptions claimed by the Debtor in
the Conversion Schedules was August 1, 2024 (“Original Objection Deadline”).

       WHEREAS, by Stipulation and Agreed Order [DE 791], the Original Objection Deadline
was extended for all parties to September 2, 2024.

       WHEREAS, by Stipulation and Agreed Order [DE 833], the Original Objection Deadline
was further extended for all parties to September 30, 2024 [DE 833].

       WHEREAS, by Stipulation and Agreed Order [DE 866], the Original Objection Deadline
was further extended for the Trustee to November 29, 2024.

       WHEREAS, the Trustee requested, and the Debtor agrees to a further extension of the
Original Objection Deadline for the Trustee to respond to the Debtor’s claimed exemptions
(“Trustee’s Objection Deadline”).




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     NOW, THEREFORE, IT IS STIPULATED AND AGREED TO BY THE PARTIES
AND UPON APPROVAL BY THE COURT OF THIS STIPULATION, IT IS SO ORDERED
AS FOLLOWS:

   1.    The above recitals are incorporated by reference herein with the same force and effect as
         if fully set forth hereafter.

   2.    The Trustee’s Objection Deadline is extended to January 13, 2025.

   3.    This Stipulation and Agreed Order does not affect the deadline applicable for parties,
         other than the Trustee, including any creditors and/or parties-in-interest in this
         bankruptcy case (“Non-Trustee Parties”), to object to the exemptions claimed by the
         Debtor in his Conversion Schedules. Those deadline(s) for Non-Trustee Parties remains
         the same unless otherwise agreed upon by a separate agreement by and between any of
         the Non-Trustee Parties and the Debtor, or by Court order.

   4.    Nothing herein shall be construed to prohibit the Trustee, any of the Non-Trustee Parties,
         or the Debtor from seeking further extensions by agreement and/or by further order of
         the Court.

   5.    Notwithstanding anything in the Bankruptcy Code or the Bankruptcy Rules to the
         contrary, this Stipulation and Agreed Order shall be effective immediately upon the
         Court’s approval.

   6.    The Court has exclusive jurisdiction and power regarding the implementation,
         interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: November 27, 2024



IT IS SO ORDERED.


                                                              Christopher M. Lopez
                                                          United States Bankruptcy Judge




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AGREED AS TO FORM AND SUBSTANCE
ON NOVEMBER 27, 2024:

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